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                                                                          FILED
                                                                        June 16, 2021
                  IN THE UNITED STATES DISTRICT COURT   KAREN MITCHELL
                  FOR THE NORTHERN DISTRICT OF TEXAS, CLERK, U.S. DISTRICT
                           AMARILLO DIVISION
                                                            COURT

STATE OF TEXAS; STATE OF
MISSOURI,

                     Plaintiffs,                Civil Action No. 2:21-cv-00067
v.

JOSEPH R. BIDEN, JR., et al.,

                     Defendants.



           MEMORANDUM OF LAW OF IMMIGRATION REFORM LAW INSTITUTE
                       AS AMICUS CURIAE IN SUPPORT OF
               PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION




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                          INTEREST OF AMICI CURIAE

        Amicus curiae Immigration Reform Law Institute (“IRLI”) filed this brief

with the consent of all parties.1 IRLI is a non-profit 501(c)(3) public interest law

firm dedicated to litigating immigration-related cases on behalf of, and in the

interests of, United States citizens and lawful permanent residents, and also to

assisting courts in understanding and accurately applying federal immigration law.

IRLI has litigated or filed amicus curiae briefs in a wide variety of cases, including

Hawaii v. Trump, 859 F.3d 741 (9th Cir. 2017); Lopez-Aguilar v. Marion Cty.

Sheriff’s Dep’t, 924 F.3d 375 (7th Cir. 2019); and Matter of Silva-Trevino, 26 I&N

Dec. 826 (BIA 2016).

                                  INTRODUCTION

        Congress has charged the Department of Homeland Security (“DHS”) with

the responsibility of securing the nation’s borders against illegal immigration. See

6 U.S.C. § 202 (“The [DHS] Secretary shall be responsible for … (2) [s]ecuring the

borders, territorial waters, ports, terminals, waterways, and air, land, and sea

transportation systems of the United States ….”); 8 U.S.C. § 1103(a)(5) (the DHS

Secretary “shall have the power and duty to control and guard the boundaries and

borders of the United States against the illegal entry of aliens”). In order to meet

this responsibility, DHS implemented the Migrant Protection Protocols (“MPP”),




1No counsel for a party in this case authored this brief in whole or in part, and no
such counsel or party made a monetary contribution intended to fund the
preparation of this brief. No person other than amicus curiae, its members, or its
counsel made a monetary contribution to the preparation or submission of this brief.
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also referred to as the “remain in Mexico” policy in January 2019. As Plaintiffs

observe, the MPP proved effective at both reducing the number of aliens attempting

to cross the southern border and reducing the number of frivolous asylum claims

burdening the immigration system. See Plaintiffs’ Motion for Preliminary

Injunction (“PI Motion”) at 3-4 (citing App.006, 308-09, attached thereto).

        But on President Biden’s first day in office, his administration immediately

began dismantling programs and policies designed to secure the nation’s borders

and enforce the Immigration and Nationality Act (“INA”). For example, President

Biden issued Executive Order 13993, 86 Fed. Reg. 7051 (Jan. 25, 2021), revising

immigration enforcement priorities, and Proclamation 10142, 86 Fed. Reg. 7225

(Jan. 27, 2021), terminating border wall construction. DHS also issued a

memorandum entitled “Review of and Interim Revision to Civil Immigration

Enforcement and Removal Policies and Priorities” in which it announced an

immediate 100-day pause of all removals and extremely narrow immigration

enforcement priorities consisting of: 1) terrorists, spies, or other national security

risks; 2) recent arrivals (defined as those aliens who enter or attempt to enter the

United States on or after November, 1, 2020); and 3) aggravated felons who pose a

risk to public safety.2 See Memorandum from Acting Secretary Pekoske on

Immigration Enforcement Policies, available at https://www.dhs.gov/sites/




2On January 26, 2021, a district court entered a nationwide temporary restraining
order against the 100-day stay of removals, and on February 23, that court
converted the TRO into a preliminary injunction. See Texas v. United States, 2021
U.S. Dist. LEXIS 33890, *9, *147-48, 2021 WL 723856 (S.D. Tex. 2021).
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default/files/publications/21_0120_enforcement-memo_signed.pdf (last visited May

26, 2021). Finally, DHS announced the termination of the MPP program, the

government action challenged here. See App.032.

         Collectively, these government actions signal to potential border crossers that

the government is no longer acting to secure our border, and have resulted in the

ongoing surge of migrants at the southern border. Indeed, the actions by the Biden

administration reflect a conscious decision to cease effective immigration

enforcement policies and pursue a policy of non-enforcement going forward. This

case arises in the context of the executive branch’s ongoing abdication of its duty to

enforce the nation’s immigration laws.

                                      ARGUMENT

I.       Plaintiffs Have Standing

         To establish standing, a plaintiff must show that: (1) the challenged action

constitutes an “injury in fact,” (2) the injury is “arguably within the zone of interests

to be protected or regulated” by the relevant statutory or constitutional provision,

and (3) nothing otherwise precludes judicial review. Ass’n of Data Processing Serv.

Org., Inc. v. Camp, 397 U.S. 150, 153 (1970). An “injury in fact” is (1) an actual or

imminent invasion of a constitutionally cognizable interest, (2) which is causally

connected to the challenged conduct, and (3) which likely will be redressed by a

favorable decision. Lujan v. Defenders of Wildlife, 504 U.S. 555, 560-62 (1992). The

standing analysis assumes the plaintiff’s merits views. Warth v. Seldin, 422 U.S.

490, 500 (1975); Southern Cal. Edison Co. v. F.E.R.C., 502 F.3d 176, 180 (D.C. Cir.



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2007) (“in reviewing the standing question, the court… must therefore assume that

on the merits the [plaintiffs] would be successful in [their] claims”).

      Plaintiffs demonstrate that the termination of the MPP program causes the

requisite injury in fact by increasing the costs that the Plaintiff States expend on

drivers’ licenses, education, healthcare, and law enforcement. See PI Motion at 18-

23. The Supreme Court has acknowledged such financial injuries in the

immigration context, where States have “an interest in mitigating the potentially

harsh economic effects of sudden shifts in population.” Plyler v. Doe, 457 U.S. 202,

228 (1982); see id. at n.23 (explaining that, because the Constitution deprives States

of any “direct interest in controlling entry into this country, . . . unchecked unlawful

migration might impair the State’s economy generally, or the State’s ability to

provide some important service”); see also Arizona v. United States, 567 U.S. 387,

397 (2012) (acknowledging that States “bear[] many of the consequences of unlawful

immigration”); DHS v. Regents of the Univ. of Cal., 140 S. Ct. 1891, 1913 (2020)

(finding a sudden shift in the government’s immigration policy was arbitrary and

capricious in part because the government “failed to address whether there was

legitimate reliance” on the former immigration policy) (internal quotation marks

omitted). The financial harm to States from sudden shifts in their population due to

immigration policies are serious and well recognized. As the district court in Texas

v. United States observed, the various States are “all but required to provide free

public education to any unlawfully present noncitizens pursuant to the Equal




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Protection Clause.” 2021 U.S. Dist. LEXIS 33890, *33 (S.D. Tex. 2021) (citing Plyler,

457 U.S. at 230).

      The Court, moreover, should evaluate standing in the context of the federal

government’s recent abdication of its duty to enforce the immigration laws.

      Despite their inherent authority as sovereigns, States do not have control

over immigration enforcement within their own borders. The various States agreed

to cede this and other powers as sovereigns to the federal government in return for

its protection. See Massachusetts v. EPA, 549 U.S. 497, 519 (2007) (“When a State

enters the Union, it surrenders certain sovereign prerogatives.”). The States

accepted such dependence on the federal government with the expectation that it

would act to protect their continued interests by enacting and enforcing national

immigration laws. See Arizona, 567 U.S. at 397 (“The pervasiveness of federal

regulation does not diminish the importance of immigration policy to the States.

Arizona bears many of the consequences of unlawful immigration.”). As a result,

the States are “entitled to special solicitude in [the] standing analysis” where the

inaction of the federal government implicates their “quasi-sovereign interests.”

Massachusetts, 549 U.S. at 520.

      While the average citizen cannot establish standing to compel government

enforcement of the law, the courts have recognized that there are certain situations

in which the States may challenge government inaction. Abdication standing exists

      when the federal government asserts sole authority over a certain area
      of American life and excludes any authority or regulation by a state; yet
      subsequently refuses to act in that area. Due to this refusal to act in a
      realm where other governmental entities are barred from interfering, a

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        state has standing to bring suit to protect itself and the interests of its
        citizens.

Texas v. United States, 86 F. Supp. 3d 591, 636 (S.D. Tex. 2015).

        The first element—total control to the exclusion of others—is well

established. See, e.g., Arizona, 567 U.S. at 388 (holding that Arizona’s actions were

preempted due to “[t]he Federal Government’s broad, undoubted power over

immigration and alien status”); Galvan v. Press, 347 U.S. 522, 531 (1954) (“Policies

pertaining to the entry of aliens and their right to remain here are . . . entrusted

exclusively to Congress . . . .”). Not only are States and localities prevented from

legislating with respect to immigration, State officials are largely prevented from

enforcing federal immigration laws. See Arizona, 567 U.S. at 407-10 (describing the

limited circumstances in which State officers may perform the functions of an

immigration officer). Thus, States are powerless to address the consequences of

illegal immigration if the federal government refuses to enforce the immigration

laws.

        The second element—refusal to act—is established by showing the executive

branch has intentionally abandoned its constitutional duty to “take Care that the

Laws be faithfully executed.” U.S. CONST. art. II, §3; see also Adams v. Richardson,

480 F.2d 1159, 1162 (D.C. Cir. 1973) (explaining that a State has standing where a

federal agency “has consciously and expressly adopted a general policy which is in

effect an abdication of its statutory duty”); Heckler v. Chaney, 470 U.S. 821, 833

(1985) (explaining that “Congress did not set agencies free to disregard legislative

direction in the statutory scheme that the agency administers.”); Texas v. United

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States, 86 F. Supp. 3d 591, 639 (S.D. Tex. 2015) (“[S]tanding under a theory of

abdication requires only that the Government declines to enforce the law.”).

      Where an agency has a statutory duty to act and establishes a policy that

conflicts with that duty, the states may bring a challenge on abdication grounds.

See Adams, 480 F.2d at 1162 (“Congress’s clear statement of an affirmative

enforcement duty should not be discounted.”). As Plaintiffs show, Defendants’

termination of the MPP program results in the government violating its duty to

detain aliens pending adjudication of their asylum claims as required by 8 U.S.C.

§ 1225(b)(1)(B)(ii). See PI Motion at 13-15. Defendants’ failure either to return

aliens to Mexico through the MPP program or to detain them pending resolution of

their asylum claims as required by statute, results in harm to Plaintiff States that

could be remedied by an injunction enjoining Defendants from terminating the MPP

program.

      Finally, insofar as Plaintiffs allege procedural violations, the bar for Article

III standing is lowered. “The history of liberty has largely been the history of

observance of procedural safeguards,” Corley v. United States, 556 U.S. 303, 321

(2009) (internal quotation marks omitted), and “procedural rights are special,”

Lujan, 504 U.S. at 572 n.7 (internal quotation marks omitted). For procedural

injuries, Article III’s redressability and immediacy requirements apply to the

present procedural violation (which may someday injure a concrete interest) rather

than to a concrete future injury. Lujan, 504 U.S. at 571-72 & n.7. Plaintiffs’

allegations of procedural-rights violations thus undercut the potential claim that it



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lacks a sufficiently immediate injury. Importantly, when it comes to redressability,

Plaintiffs need not show that a procedurally valid change in policy would result in a

rule more to their liking: “If a party claiming the deprivation of a right to notice-

and-comment rulemaking under the APA had to show that its comment would have

altered the agency’s rule, section 553 would be a dead letter.” Sugar Cane Growers

Co-op. of Fla. v. Veneman, 289 F.3d 89, 95 (D.C. Cir. 2002). Instead, vacatur would

put the parties back in the position they should have been in all along, and thus

provide enough redress, even if Defendants potentially could take the same action

on remand, leaving Plaintiffs no better off in the end.

      The Plaintiff States also fall within the zone of interests protected by

immigration law. Under the APA, the interest asserted need only be “arguably

within the zone of interests to be protected or regulated by the statute” in question.

Match-E-Be-Nash-She-Wish Band of Pottawatomi Indians v. Patchak, 567 U.S. 209,

224 (2012) (internal quotation marks omitted). The Supreme Court has described

the test as “not meant to be especially demanding” and as “not requir[ing] any

‘indication of congressional purpose to benefit the would-be plaintiff.’” Id. at 225

(quoting Clarke v. Sec. Indus. Ass’n, 479 U.S. 388, 399-400 (1987)). Here, the INA

was enacted to regulate immigration in the interests of the American people and

the states. Because Plaintiff States’ claims fall well within the zone of interests

protected by the INA, they have demonstrated standing to challenge the

termination of the MPP program.




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II.     Plaintiffs are Likely to Succeed on the Merits

        Plaintiffs have demonstrated that Defendants’ termination of the MPP

program is arbitrary and capricious because they did not provide any justification

for the change in policy nor consider relevant factors in making that change. PI

Motion at 10-13. That alone is sufficient to demonstrate a likelihood of success for

Plaintiffs. But Plaintiffs are also likely to succeed on the merits because, in

terminating the MPP program, Defendants also acted in an arbitrary and capricious

manner by not considering the Plaintiff States’ reliance interests in the

continuation of the MPP program.

        Defendants did not consider whether “there was ‘legitimate reliance’ on the”

continued implementation of the MPP program. DHS v. Regents of the Univ. of Cal.,

140 S. Ct. 1891, 1913 (2020) (quoting Smiley v. Citibank (South Dakota), N.A., 517

U.S. 735, 742 (1996)). When the MPP program was terminated on January 20, 2021,

it had been in place for approximately two years and had been very effective at

preventing the release of tens of thousands of aliens into the country. See App. 308

(indicating that in the first nine months of the MPP program, more than 55,000

aliens were returned to Mexico pending consideration of their asylum claims).3 This




3In addition to the number of aliens enrolled in the MPP program and returned to
Mexico, the existence of the program substantially reduced the number of aliens
who attempted to enter the country illegally. See App. 308 (indicating that border
encounters with Central American families—those most amenable to the MPP
program—decreased approximately 80 percent). Thus, the number of aliens
returned to Mexico under the MPP program represents a mere fraction of the
number of aliens who did not attempt to enter the country unlawfully as a result of
the program.
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reduction in the number of aliens allowed into the country enabled Plaintiff States

to preserve resources that would have gone toward the education, healthcare, and

law enforcement costs attendant to those aliens and instead devote their resources

to addressing the needs of their respective citizens. In terminating the MPP

program, Defendants gave no consideration whatsoever to the impact on available

State resources. See App. 032 (announcing suspension of new enrollments in the

MPP, “pending further review of the program.”). That failure was arbitrary and

capricious; where, as here, “an agency changes course . . . it must be cognizant that

longstanding policies may have engendered serious reliance interest that must be

taken into account.” Regents of the Univ. of Cal., 140 S. Ct. at 1913 (internal

quotations omitted); see also Gonzales-Veliz v. Barr, 938 F.3d 219, 234 (5th Cir.

2019) (“[U]nexplained inconsistency in agency policy is a reason for holding an

interpretation to be an arbitrary and capricious change from agency practice.”)

(internal quotation omitted).

      Defendants also ignored the costs that Plaintiff States would incur as a result

of the suspension of the MPP program. As the Supreme Court has acknowledged,

the various States always “bear[] many of the consequences of unlawful

immigration.” Arizona, 567 U.S. at 397. Defendants’ failure to consider such

reliance costs was arbitrary and capricious.

      Plaintiffs have shown that the suspension of the MPP program will cause

harm sufficient both for standing and for a preliminary injunction. See PI Motion at

17-24, 28-29. In order to qualify for an injunction, Plaintiffs need only demonstrate



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“a substantial threat of irreparable injury if the injunction is not issued.” Texas v.

United States, 809 F.3d 134, 150 (5th Cir. 2015). For their injury to be sufficiently

“irreparable,” Plaintiffs need only show it “cannot be undone through monetary

remedies.” Burgess v. FDIC, 871 F.3d 297, 304 (5th Cir. 2017). Plaintiffs have met

this burden here. Further, Defendants will suffer no harm if an injunction is

granted. Even if Defendants would incur additional enforcement costs due to an

injunction, such costs are mandated by statute and should not be weighed against

the harm Plaintiff States are suffering due to Defendants non-enforcement policies.

                                   CONCLUSION

      For the foregoing reasons, Plaintiffs’ request for a preliminary injunction

should be granted.

Respectfully submitted on May 27, 2021,

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